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 1                                                                        The Honorable John H. Chun

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8 FEDERAL TRADE COMMISSION,                               No. 2:23-cv-0932-JHC
 9                             Plaintiff,                  NOTICE OF SUPPLEMENTAL
                                                           AUTHORITY RELATING TO
10          v.                                             DEFENDANTS’ MOTIONS TO
                                                           DISMISS AMENDED COMPLAINT
11 AMAZON.COM, INC. et al.,
                                                           Oral Argument Requested
12                             Defendants.
13

14

15          Pursuant to Local Civil Rule 7(n), Defendants Amazon.com, Inc. (“Amazon”), Neil
16 Lindsay, Russell Grandinetti, and Jamil Ghani (the “Individuals,” together with Amazon, the

17 “Defendants”) provide this Notice of Supplemental Authority relevant to Defendants’ motions to

18 dismiss. Dkts. 83, 85.
19          Attached as Exhibit A is the Fifth Circuit’s recent decision in Commodity Futures
20 Trading Commission v. EOX Holdings, L.L.C., No. 22-20622 (5th Cir., Jan. 8, 2024)

21 [hereinafter, EOX]. In EOX, the court reversed a civil-liability finding in favor of the CFTC

22 because “the Defendants lacked fair notice of the CFTC’s unprecedented interpretation” of a

23 CFTC rule. Ex. A at 1-2. In that case, the CFTC argued—and the district court had concluded—

24 that the rule’s “‘controlling plain language’ provided ‘fair notice’ to the public.” Id. at 7-8. The

25 Fifth Circuit reversed, holding that the rule “[o]n its face” was “at best ambiguous” and,

26 therefore, “did not give fair notice to the Defendants absent further guidance from the FTC.” Id.

27 at 8. The CFTC did not “seek judicial deference” of its interpretation. Id. at 9 n.6.
     DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
     (2:23-cv-0932-JHC) - 1                                                    Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
                                                                                  920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
             Case 2:23-cv-00932-JHC Document 133 Filed 01/22/24 Page 2 of 22




 1          In EOX, the Fifth Circuit relied upon the same line of cases that Defendants cite in

 2 support of their motions to dismiss. Compare Ex. A at 9-11 (citing Upton v. SEC, 75 F.3d 92, 98

 3 (2d Cir. 1996) to hold that because “the CFTC had taken ‘no steps to advise the public that it

 4 believed the practice was questionable,’” the defendant was deprived of fair notice), with Dkt.

 5 130 at 5 (citing Upton and noting that the FTC failed to provide “‘affirmative notice’ before

 6 modifying its ‘enforcement regime’”); and compare Ex. A at 8-9 (citing General Elec. Co. v.

 7 EPA, 53 F.3d 1324 (D.C. Cir. 1995)), with Dkt. 85 at 21 (same).

 8          EOX is relevant to Amazon’s arguments at pages 20 to 27 of its motion (Dkt. 85) and

 9 pages 24 to 27 of its reply (Dkt. 132). EOX also bears on the FTC’s arguments at pages 43 to 49

10 of its opposition. Dkt. 126; see also id. at 46 (arguing that “fair notice” standards apply only “if

11 a court ‘must defer to an agency interpretation of a statute or regulation’ . . . or the agency itself

12 is acting as the adjudicator” (citation omitted)). EOX also relates to the due process arguments

13 raised in the Individuals’ motion. Compare Ex. A at 7-8 (finding lack of fair notice based on

14 change in agency’s “prosecution policies” where CFTC rule had never been applied “beyond

15 principals” to the trade), with Dkt. 83 at 14-15 and Dkt. 130 at 4-5.

16

17          DATED this 22nd day of January 2024.

18
                                                    DAVIS WRIGHT TREMAINE LLP
19

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                EXHIBIT A
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           United States Court of Appeals
                for the Fifth Circuit                               United States Court of Appeals
                                                                             Fifth Circuit

                                                                           FILED
                                                                     January 8, 2024
                                 No. 22-20622
                                                                      Lyle W. Cayce
                                                                           Clerk
   Commodity Futures Trading Commission,

                                                            Plaintiff—Appellee,

                                      versus

   EOX Holdings, L.L.C.; Andrew Gizienski,

                                                       Defendants—Appellants.


                  Appeal from the United States District Court
                      for the Southern District of Texas
                           USDC No. 4:19-CV-2901


   Before Jones, Stewart, and Duncan, Circuit Judges.
   Edith H. Jones, Circuit Judge:
         EOX Holdings, LLC, and Andrew Gizienski (“Defendants”) appeal
   from adverse judgments in a novel civil liability suit filed by the Commodity
   Futures Trading Commission (“CFTC”) pursuant to 17 C.F.R.
   § 155.4(b)(2)(i), a regulation that prevents commodities traders from “taking
   the other side of orders” without clients’ consent. We hold that the
   Defendants lacked fair notice of the CFTC’s unprecedented interpretation
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   of this thirty-nine-year-old Rule. The judgment is REVERSED in part, the
   injunction VACATED in relevant part, and the case REMANDED.

                                          I.

          The background of this case is the noisy, fast-moving, high-stakes
   world of electrical energy futures block trades. An energy future is an
   agreement to buy or sell energy for delivery or cash settlement in the future
   at a specified price. Those who trade in electric energy block futures include
   high-net-worth individuals as well as utilities and commercial or institutional
   producers or consumers of electricity seeking to “hedge,” that is, minimize
   losses from price changes. A trader looking for a suitable block trade reaches
   out to a broker like Gizienski with a bid or offer for a contract at a desired
   price, quantity, and duration. The broker then “blasts” the details to other
   traders, asking if anyone wants to take the offer.

          Gizienski came to EOX in 2010 as the head of the Northeast Power
   Desk. He worked at the Houston office alongside five other brokers, seated
   at a conference room table, with a “squawk box” connected directly to
   traders by thirty-six high-speed lines. Two television monitors provided real-
   time audio and video of brokers’ desks in the other EOX offices around the
   country. As described in testimony at trial, the trading environment for
   electric energy futures block trades is controlled chaos, as block brokers
   communicate throughout the trading day with each other and with traders
   via “squawk box,” telephone, or internal instant messaging system.




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          In 2013, one of Gizienski’s clients, Jason Vaccaro, granted Gizienski a
   power of attorney allowing Gizienski to act on his behalf and to enter into
   block trade transactions at Gizienski’s discretion. The block trades at issue
   in this appeal arose from this discretionary account. EOX had a formal policy
   against its brokers’ handling such discretionary accounts. That policy had to
   be waived for Vaccaro. The Chief Executive Officer of EOX instructed his
   Houston branch manager to seek approval for the discretionary account from
   ICE Futures U.S., the online exchange on which the futures were traded.1
   EOX obtained the necessary approval from ICE’s Head of Power and from
   the compliance departments of FCStone and Bank of America Merrill Lynch,
   two brokerage firms, which, as registered futures commission merchants, are
   legally authorized to clear trades and to hold and account for customer funds.

          After obtaining these authorizations, Gizienski could make specific
   trades, determining the quantity, price, and timing of the trades without first
   informing Vaccaro. Gizienski traded on Vaccaro’s behalf in that manner
   from August 2013 until May 2014, when Vaccaro directed him to stop.
   Neither EOX nor Gizienski disclosed to other EOX customers that
   Gizienski was exercising trading discretion on Vaccaro’s behalf in the same
   markets where Gizienski served as broker for those customers.

          The CFTC filed this civil enforcement action against the Defendants
   in a four-count complaint in the Southern District of New York in 2018. It

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             ICE is a private “self-regulatory organization” which itself possesses some
   regulatory authority and imposes various rules on its traders.



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   accompanied its complaint with a press release accusing the Defendants of
   insider trading. As Gizienski later testified at trial, this negative publicity
   severely damaged his career and put him out of work for over two years. The
   case was transferred to the Southern District of Texas in 2019 and tried to a
   jury for seven days in 2022. Traders who appeared as witnesses testified that
   they had suffered no damage as a result of Gizienski’s conduct. The CFTC
   dropped its claims for restitution and disgorgement. At the end of the
   evidence, the Defendants moved for judgment as a matter of law. The
   district court denied the motion from the bench and the case went to the jury.

          The jury found for the Defendants on Count I, flatly rejecting
   CFTC’s insider trading claim under Rule 180.1 of the Commodity Exchange
   Act. But the jury found for the CFTC on Count II, the sole count at issue
   in this appeal, which accused the Defendants of

          violat[ing] Rule 155.4 (1) by knowingly taking the other side of
          customer orders revealed to EOX or any of its affiliated
          persons without the customers’ prior consent one-hundred
          and twenty-two (122) times; and (2) by disclosing to Jason
          Vaccaro the orders of other customers held by EOX or any of
          its affiliated persons, when such disclosures were not necessary
          to the effective execution of the customer orders six (6) times.
   Specifically, the jury found that Gizienski “took the other side of orders” on
   65 of the 122 challenged transactions, in violation of Rule 155.4(b)(2)(i). The
   jury also found the Defendants liable on Count II for disclosing customer
   information, but the Defendants do not challenge this part of the verdict. For
   “taking the other side of orders,” the jury assessed a penalty, for regulatory




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   violations only, of $6.5 million.2 As this district court stated at the final
   hearing, “[t]here was no evidence at trial that any of Mr. Gizienski’s clients
   suffered a loss because of his conduct.”3 The final judgment included an
   injunction, which the Defendants now challenge.                         The Defendants’
   combined motions under Federal Rules of Civil Procedure 50 and 59 for a
   new trial or judgment as a matter of law were denied. This appeal followed.

                                                II.

           The Defendants make four principal arguments on appeal. First, they
   argue that the district court construed Rule 155.4(b)(2)(i) erroneously in its
   jury instruction. Specifically, the CFTC had not given them fair notice at
   the time they were engaging in the conduct that the CFTC newly claims to
   have violated the Rule. Second, even accepting the jury charge, the jury
   verdict lacked sufficient evidence. Third, the district court erred in various
   trial management decisions.4 Last, the injunction was overbroad.

           _____________________
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             In addition to the $6.5 million penalty for taking the other side of orders, the jury
   also imposed a penalty of $500,000 “for Mr. Gizienski’s disclosure of a customer’s
   material, nonpublic order information,” where the jury found that Gizienski had made such
   disclosures five times. On Counts III and IV, the jury also imposed on EOX penalties of
   $350,000 and $140,000 respectively.
           3
             The Defendants do not contest liability found by the jury under Count III
   (“EOX failed to create and/or keep pre-trade communications relating to seven trades
   made in 2014 from the account that Mr. Gizienski managed for Jason Vaccaro.”) and
   Count IV (“EOX violated Rule 166.3,” which requires EOX “to both (1) establish
   adequate policies or procedures for the detection and deterrence of possible wrongdoing by
   its employees; and (2) follow those policies.”).
           4
             The Defendants argue that the district court erred by (1) giving the parties
   inadequate notice of the jury instruction, (2) excluding evidence regarding “eligible
   contract participants,” (3) submitting to the jury a verdict form that lacked the Defendants’


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           As stated above, we hold that the Defendants did not have fair notice
   of the construction of Rule 155.4(b)(2)(i) at the time they were engaging in
   the challenged conduct. The penalty judgment and relevant portion of the
   injunction cannot be sustained. Because of this disposition, we need not
   address the Defendants’ other arguments.

           This case was the first enforcement action brought by the CFTC for
   “taking the other side” under this thirty-nine-year-old Rule.                      The
   interpretation of Rule 155.4(b)(2)(i) is therefore a matter of first impression.
   We review the district court’s construction of the Rule de novo.
   9C Charles Alan Wright & Arthur R. Miller, Federal
   Practice and Procedure § 2558 (3d ed.) (“[F]ederal appellate courts
   evaluate the correctness of jury instructions regarding their statement of the
   law de novo.” (footnote omitted)); cf. United States v. Hamilton, 46 F.4th
   389, 393 (5th Cir. 2022) (“When a jury-instruction challenge ‘hinges on a
   question of statutory construction,’ our review is de novo.” (quoting United
   States v. Garcia-Gonzalez, 714 F.3d 306, 312 (5th Cir. 2013))).

           Rule 155.4(b)(2)(i) states:

           No introducing broker or any of its affiliated persons shall:
           ...
           Knowingly take, directly or indirectly, the other side of any
           order of another person revealed to the introducing broker or
           any of its affiliated persons by reason of their relationship to
           such other person, except with such other persons’s [sic] prior
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   “Special Interrogatories,” and (4) enforcing a ten-hour time limit on each party’s trial
   presentation.



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          consent and in conformity with contract market rules approved
          by or certified to the [CFTC].
   17 C.F.R. § 155.4(b)(2)(i).5 During the trial proceedings, the parties offered
   opposing definitions of “taking the other side of an order.” The Defendants
   argued that “taking the other side of an order” means “becoming a
   counterparty with a financial interest and the possibility of profit and loss.”
   The CFTC argued that “taking the other side of an order” means “mak[ing]
   the decision to trade opposite the order and execut[ing] the trade opposite
   the order.” The Defendants’ definition thus excluded brokers like Gizienski
   who exercise discretion over the accounts they trade, while the CFTC’s
   definition included such brokers. In the jury instructions, the district court
   accepted the CFTC’s construction of the Rule, defining “taking the other
   side of an order” as follows:

          An individual takes the other side of an order if he makes the
          decision to trade opposite the order and executes the trade
          opposite the order. It was not necessary for Mr. Gizienski to
          own or have a financial interest in the account he was trading
          from in order to take the other side of a customer order.
          The Defendants argue that they did not have fair notice of the
   CFTC’s construction of the rule at the time of the conduct at issue because
   the CFTC altered its prosecution policies after “thirty-nine years of
   regulatory silence” about the meaning of Rule 155.4(b)(2)(i). The CFTC
   responds that it has “consistently interpreted Rule 155.4(b)(2)(i) according

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              It is undisputed that EOX is an “introducing broker” and Gizienski is its
   “affiliated person” in the meaning of Rule 155.4(b)(2)(i).



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   to its plain language,” and that this “controlling plain language” provided
   “fair notice” to the public.

           In ruling for the CFTC on a motion to dismiss, the district court
   noted that “[n]othing in the language of Regulation 155.4(b)(2) limits its
   application to principals with an ownership or financial interest in a particular
   account, and none of the cases cited by the defendants either cite
   Regulation 155.4 or describe the CFTC’s view of that regulation’s scope.”
   The district court was correct that the text of Rule 155.4(b)(2)(i) does not
   limit its application to principals. But nothing extends its application beyond
   principals either. On its face, then, the text of Rule 155.4(b)(2)(i) is at best
   ambiguous. It did not give fair notice to the Defendants absent further
   guidance from the CFTC, and for nearly four decades, no such guidance
   came.

           The fair notice doctrine is a “basic principle of administrative law.”
   SNR Wireless LicenseCo, LLC v. Fed. Commc’ns Comm’n, 868 F.3d 1021,
   1043 (D.C. Cir. 2017). As this court stated in an oft-cited case, “[i]f a
   violation of a regulation subjects private parties to criminal or civil sanctions,
   a regulation cannot be construed to mean what an agency intended but did
   not adequately express.” Diamond Roofing Co. v. Occupational Safety &
   Health Rev. Comm’n, 528 F.2d 645, 649 (5th Cir. 1976). The agency “must
   provide a reasonably clear standard of culpability to circumscribe the
   discretion of the enforcing authority and its agents.” Id. “In the absence of
   notice—for example, where the regulation is not sufficiently clear to warn a
   party about what is expected of it—an agency may not deprive a party of


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   property by imposing civil or criminal liability.” ExxonMobil Pipeline Co. v.
   U.S. Dep’t of Transp., 867 F.3d 564, 578 (5th Cir. 2017) (quoting Gen. Elec.
   Co. v. Env’t Prot. Ass’n, 53 F.3d 1324, 1328-29 (D.C. Cir. 1995)).6

           Three cases support the conclusion that there was no fair notice here.
   In Upton v. Securities & Exchange Commission, cited by the Defendants, the
   Second Circuit considered how to construe a rule regulating broker-dealers.
   75 F.3d 92, 93 (2d Cir. 1996). The rule required broker-dealers to keep a
   separate bank account for customers, to calculate the amount to be deposited
   in that account every week “as of the close of the last business day of the
   week,” and to deposit that amount “no later than 1 hour after the opening of
   banking business on the second following business day.” Id. (quoting
   17 C.F.R. § 240.15c3-3(e)(3)). Upton’s firm complied with the “technical[]

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           6
             When, as here, a regulation is ambiguous, an agency may seek judicial deference
   to the agency’s interpretation under Auer v. Robbins, 519 U.S. 452, 117 S. Ct. 905 (1997).
   Here, the agency did not avail itself of Auer deference because of its view that the regulation
   plainly supports liability. We disagree. And in any event, “Auer deference is sometimes
   appropriate and sometimes not.” Kisor v. Wilkie, 588 U.S. __, 139 S. Ct. 2400, 2408
   (2019). In particular, “Auer deference does not apply if the petitioner ‘lacked fair notice’
   of the agency’s interpretation of the regulation that the agency is advancing in the
   enforcement action.” ExxonMobil Pipeline Co., 867 F.3d at 573 (quoting Employer Sols.
   Staffing Grp. II, LLC v. Off. of Chief Admin. Hearing Officer, 833 F.3d 480, 487-88 (5th Cir.
   1976)); see also Kisor, 139 S. Ct. at 2417-18 (Courts “may not” afford Auer deference to
   agency interpretations that impose liability without “fair warning[.]” (quoting Christopher
   v. SmithKline Beecham Corp., 567 U.S. 142, 156, 132 S. Ct. 2156 (2012))); Christopher,
   567 U.S. at 156 n.15, 132 S. Ct. 2156 (“In penalty cases, courts will not accord substantial
   deference to an agency’s interpretation of an ambiguous rule in circumstances where the
   rule did not place the individual or firm on notice that the conduct at issue constituted a
   violation of a rule.” (quoting 1 Richard J. Pierce, Jr., Administrative Law
   Treatise § 6.11, at 543 (5th ed. 2010))). Because the “failure to give fair notice—on its
   own—justifies setting aside the imposed fine,” “further analysis” of the appropriate level
   of deference is “unnecessary.” Employer Sols., 833 F.3d at 489 n.7.



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   require[ments]” of the rule but evaded its impact by “pa[ying] down loans
   collateralized by customer securities just before the weekly . . . computation
   and replac[ing] them with unsecured loans; on the next business day, [it]
   reinstated the customer-secured loans.” Id. at 97, 93. The Commission
   found Upton liable for violating the regulation, but the Second Circuit
   vacated the order. Id. at 98. The court noted that the Commission “was
   aware that brokerage firms were evading the substance of Rule 15c3-3(e),”
   but “took no steps to advise the public that it believed the practice was
   questionable” at the time Upton was engaged in the practice except for “one
   consent order carrying little, if any, precedential weight.” Id. (quotation
   marks omitted). Therefore, the court held, “Upton was not on reasonable
   notice that [the firm’s] conduct might violate the Rule.” Id.

          Similarly, in Employer Solutions Staffing Group II, LLC v. Office of the
   Chief Administrative Hearing Officer, this court vacated an administrative law
   judge’s order for lack of fair notice. 833 F.3d 480, 491 (5th Cir. 2016). The
   Immigration and Nationality Act requires a “person or entity” wishing to
   hire an employee to “‘attest . . . on a form [established by the appropriate
   agency] by regulation, that it has verified that the individual is not an
   unauthorized alien by examining’ employee documents.” Id. at 485 (quoting
   8 U.S.C. § 1324a(b)(1)(A)). The petitioner in the case, a temporary staffing
   agency, divided this process into two parts whereby one corporate
   representative in El Paso, Texas, examined original documents in the
   presence of the hired employee, then “another corporate representative in
   Edina, Minnesota, inspected photocopies of the documents and completed”



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   the I-9 Form. Id. at 491. The form stated only that it was “[t]o be completed
   and signed by employer.” Id. at 488. The agency, however, argued that “the
   same . . . representative who examines an employee’s original documents
   must also meet with the employee and sign the . . . I-9 Form’s . . .
   attestation.” Id. at 485. The court rejected the agency’s interpretation
   because the petitioner “lacked fair notice” of that construction. Id. at 489.
   The court noted that “neither Congress nor [the Department of Homeland
   Security] had ever declared a bar to corporate attestation prior to this
   enforcement action.”            Id.   Consequently, “the most reasonable
   interpretation permits corporate attestation,” and the petitioner “did not
   violate the law.” Id. at 491.

          In contrast, fair notice was afforded in Consol Pennsylvania Coal Co. v.
   Federal Mine Safety & Health Review Commission, 941 F.3d 95, 112-13 (3d Cir.
   2019), cited by the CFTC. The regulation at issue imposed obligations on
   mine operators “once the operator knows or should know that an accident
   has occurred involving . . . [a]n injury of an individual at the mine which has
   a reasonable potential to cause death.” Id. at 104. An individual at the mine
   “was crushed between two multi-ton pieces of mining equipment.” Id. at
   100. He said he was in a lot of pain and could not move his legs. Id. The
   company argued that because “the Commission’s legal standard fails to
   provide fair notice of how it will be applied,” “Consol lacked fair notice that
   the specific factual scenario at issue . . . would constitute” a violation. Id. at
   113. The court disagreed, holding that there had been fair notice, because




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   “we think it extraordinarily clear that the injuries in this case reflected a
   reasonable potential for death.” Id.

          Here, as in Upton, the CFTC had never publicly stated that to “take
   the other side of trades” includes the broker’s trading for a discretionary
   account without himself having a financial interest in that account. See
   75 F.3d at 98. Indeed, the cases cited by the agency provide no evidence of
   such a gloss to that phrase, even though Rule 155.4(b)(2)(i) has been in
   existence since 1984 and has applied to electric energy futures block trades
   since 2012. As in Employer Solutions, this enforcement action is the first time
   the CFTC has advanced this interpretation of the Rule. See 833 F.3d at 489.
   And unlike Consol Pennsylvania Coal, where it was “extraordinarily clear” to
   the court that having one’s legs crushed in a piece of mining equipment “has
   a reasonable potential to cause death,” it would not have been clear to the
   Defendants that the phrase “taking both sides of an order” applied to their
   conduct. See 942 F.3d at 113. Importantly, the Defendants sought and
   obtained prior approval from ICE, which has authority to impose rules on its
   traders, and whose rules do not prohibit Gizienski’s activity. See ICE
   Futures U.S., Inc., Trading Rules 4.07(a)(i).                   They further
   obtained approval from FCStone and Bank of America Merrill Lynch, all
   with no indication that Gizienski’s conduct might be in violation of the law.
   The CFTC had issued no guidance that might have put the Defendants on
   notice that they were violating Rule 155.4(b)(2)(i). Over the course of nearly
   four decades, the CFTC had taken “no steps to advise the public that it
   believed the practice was questionable.” See Upton, 75 F.3d at 98.



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          The CFTC asserts that its interpretation of Rule 155.4(b)(2)(i) tracks
   language in the Federal Register about the prevention of “bucketing.” See
   Rules Relating to Intermediaries of Commodity Interest Transactions,
   66 Fed. Reg. 53,510, 53,513-14 (Oct. 23, 2001) (“Rules 155.1, 155.3 and 155.4
   have helped the Commission to deter such practices as ‘front-running,’
   ‘trading ahead,’ ‘bucketing,’ and improper disclosure of customer
   orders.”).7 If anything, this language undermines the CFTC’s position.
   The CFTC’s own online glossary defines “bucketing” as “[d]irectly or
   indirectly taking the opposite side of a customer’s order into a broker’s own
   account or into an account in which a broker has an interest, without open and
   competitive execution of the order on an exchange.” CFTC, Futures
   Glossary: A Guide to the Language of the Futures
   Industry (emphasis added).8 But Gizienski did not own or have an
   interest in the account at issue here. It is unclear how the reference to
   “bucketing” could have put him on notice that his conduct violated
   Rule 155.4(b)(1)(2)(i).

          The parties cite two previous enforcement actions alleging
   “bucketing,” but both involve brokers who, unlike Gizienski, had an
   ownership interest in the relevant accounts.           In CFTC v. Topworth

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            As the CFTC notes, the Rule also prohibits improper disclosure of customer
   information, but the Defendants do not challenge that part of the verdict.
          8
              Available online at:
           https://www.cftc.gov/LearnAndProtect/AdvisoriesAndArticles/CFTCGlossary
   /index.htm.



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   International, Ltd., a receiver found that the defendant corporation had
   possibly engaged in metals-futures “bucketed trades” where it did not
   actually execute its customers’ orders, instead “tak[ing] into its own account
   the opposite side of a given trade.” 205 F.3d 1107, 1110 (9th Cir. 1999), as
   amended (Mar. 23, 2000). The receiver therefore decided to distribute the
   defendant’s remaining funds pro rata to investors, a plan that the Ninth
   Circuit upheld over the objections of an individual investor. Id. at 1116.
   Topworth suggests that “bucketing” requires an ownership interest in the
   underlying account. It does not analyze whether it is ever possible to take the
   opposite side of a given trade without taking it “into [one’s] own account.”
   Id. at 1110.

          Similarly, in Purdy v. CFTC, this court defined “bucketing” in the
   context of “precious metal leverage contracts” as

          [the] method of doing business wherein orders of customers for
          the purchase or sale of commodities for future delivery, instead
          of being executed by bonafide purchases and sales with other
          traders, are simply matched and offset in the soliciting firm’s
          own office and the firm itself takes the opposite side of the
          customers’ orders.
   968 F.2d 510, 520 (5th Cir. 1992) (quoting 80 Cong. Rec. 8088 (May 27,
   1936) (remarks of Senator Pope)) (upholding the findings made by an
   administrative law judge and affirmed by the CFTC that “bucketing”
   violations did not exist). Like Topworth, Purdy also suggests that “bucketing”
   requires an ownership interest in the underlying account.




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          Neither case addresses the facts before this court, but by negative
   implication both Purdy and Topworth suggest that a broker engages in
   “bucketing” or in “taking the other side” of an order only if he has an
   ownership interest in the account. Gizienski undisputedly did not have any
   such interest. Therefore, without further guidance from the CFTC, the
   language in the Federal Register about “bucketing” could not have put the
   Defendants on fair notice that the agency might attempt to construe
   Rule 155.4(b)(2)(i) to prohibit Gizienski’s conduct.

          The trial testimony likewise suggests that the phrase “taking the other
   side of orders” was at best ambiguous. For example, one witness stated,
   without defining the term, that it was not common for brokers to “trade on
   the opposite side of customer orders.” When asked why he did not trade on
   the opposite side of customer orders, he implied it was because he was not
   rich enough to do so:

          Well, first of all, the products are very big and expensive. Like
          hundreds of thousands, millions of dollars in each transaction.
          And so I couldn’t afford it. Also, you just don’t. You don’t do
          it as a broker. You don’t trade. You know, you’re supposed to
          be just in the middle, a middleman. And you’re trying to align
          a buyer and a seller into a willing transaction where everyone is
          happy.
   This comment might imply that anyone trading on the opposite side of
   customer orders would have to be very rich in order to do so. But on the
   other hand, it might imply that such trades would require decisionmaking
   power over a discretionary account owned by another. The comment is not




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   dispositive either way, but it seems to lend support to the Defendants’
   interpretation of the phrase.

          Similarly, the repeated statements by witnesses that no one at EOX
   had discretionary authority over customer accounts may show that such
   authority was rare at that firm or perhaps in the industry as a whole, but they
   shed no light on the definition of “taking the other side of trades.” In fact,
   the rarity of such a situation may explain why the phrase was never defined
   specifically to prohibit discretionary trading in addition to trading for one’s
   own account.

          In conclusion, we find the CFTC’s construction of the Rule to be
   thoroughly unpersuasive. Maybe, as the CFTC stated at oral argument, the
   agency has reasons for wishing to regulate such conduct. But if so, “it is the
   regulation as written which must bear the blame.” Diamond Roofing Co.,
   527 F.2d 645 at 650. We therefore hold that the Rule applies only to brokers
   and affiliated persons who “becom[e] a counterparty with a financial interest
   and the possibility of profit and loss,” and not to those who merely “make
   the decision to trade opposite the order and execute the trade opposite the
   order.” As noted above, “a regulation cannot be construed to mean what an
   agency intended but did not adequately express.” Id. at 649.

                                        III.

          The district court’s fashioning of injunctive relief is reviewed for
   abuse of discretion. Thomas v. Hughes, 27 F.4th 995, 1011 (5th Cir. 2022).

          The portion of the injunction challenged by the Defendants states:



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          Pursuant to Section 6c of the Commodity Future Trading Act
          (the “Act”), 7 U.S.C. § 13a-1, EOX and Gizienski are
          permanently restrained, enjoined, and prohibited from directly
          or indirectly:
                 a. Disclosing the orders of other customers held by them
                 or any affiliated persons, unless such disclosure is
                 necessary to the effective execution of such order or is
                 made at the request of an authorized representative of
                 the CFTC, the contract market on which such order is
                 to be executed, or a futures association registered with
                 the CFTC pursuant to section 17 of the Act, in violation
                 of Regulation 155.4(b)(1), 17 C.F.R. § 155.4(b)(1)
                 (2021); and
                 b. Knowingly taking, directly or indirectly, the other
                 side of any order of another person revealed to them or
                 any affiliated persons by reason of their relationship to
                 such other person, except with such other person’s
                 prior consent and in conformity with contract market
                 rules approved by or certified to the CFTC, in violation
                 of Regulation 155.4(b)(2), 17 C.F.R. § 155.4(b)(2)
                 (2021).
          The Defendants argue that an injunction must “describe in reasonable
   detail . . . the act or acts restrained or required.”       Fed. R. Civ.
   P. 65(d)(1)(C). General injunctions which in essence order a defendant to
   obey the law, they say, are prohibited. Sec. & Exch. Comm’n v. Life Partners
   Holdings, Inc., 854 F.3d 765, 784 (5th Cir. 2017). The injunction in this case
   is invalid, according to the Defendants, because it “merely tracked the
   statutory language and was not limited to the violations found by the Jury.”
   The Defendants argue that the CFTC could seek contempt sanctions
   against them without filing a new enforcement action alleging different




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   violations of these provisions, “for the purpose, for example, of denying
   [them] their right to a jury trial.”

           But an injunction not to disobey a specific law is not overbroad, as the
   CFTC correctly argues. See id. at 784-85.

           Because the Defendants lacked fair notice of the CFTC’s
   construction of Rule 155.4(b)(1)(2)(i), we VACATE Paragraph 4(b) of the
   injunction. But the Defendants’ overbreadth challenge fails as applied to
   Paragraph 4(a).9

                                               IV.

           In conclusion, we REVERSE the penalty judgment because
   Rule 155.4(b)(2)(i), as written, does not apply to the Defendants’ actions; we
   VACATE Paragraph 4(b) of the injunction; and we REMAND for entry of
   judgment in accordance herewith.




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              The CFTC argues that the Defendants waived this argument in any event
   because they failed to raise it in the motion for judgment as a matter of law. The Defendants
   reply that they properly preserved their objection. Since neither party cites sources for its
   interpretation of the law here, this court assumes without deciding that the issue was not
   waived.



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